PROB. 12
(R@v_ elea)CaSe 2:97-cr-20283-BBD Document 53 Filed 06/10/05 Page 1 of 3 Page|D 10

UNITE]) STATES DISTRICT COURT
FlLED B¥ D.C.

for
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CLER¥<, U.‘.:`.~. DIB'§`._ CT.
/ W.D (_`)$~‘ TN. MEMPH|S g
U.S.A. vs. THOMAS P. KIRACOFE Docket Nos. 2:97CR20283-00]
2:97CR20275-001

WESTERN DISTR[CT OF TENNESSEE

Petition on Probation and Supervised Release

COMES NOW NICOLE D. PETERSON , PROBATION OFFICER OF THE COURT presenting
an official report upon the conduct and attitude of Thomas P, Kiracofe Who was placed on supervision by the
Honorable Bernice B. Donald sitting in the Court at Memphis, TN , on the 18th day ofNovember , 1998, Who
fixed the period of supervision at three ( 3 1 years , and imposed the general terms and conditions theretofore adopted
by the Court and also imposed special conditions and terms as follows:

(]) The defendant shall submit to drug screens, a drug program, and mental health treatment as directed by the
Probation Office.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

(Ifsllort insert here; iflengthy write on separate sheet and attach)

Due to lack of family support and financial hardship, Mr. Kiraco fe does not have a Viable residence. He has indicated
his willingness to seek the assistance of the halfway house staif in securing employment and stable residence by his
signature on the Probation Form 49 (Waiver of Hearing to Modify the Conditions of Supervised Release).

PRAYING THAT THE COURT WILL ORDER that the conditions of Mr. Kiracofe’s Supervised Release be
modified to include up to one hundred twenty (] 20) days placement in a halfway house.

 

ORDER OF COURT RESPECTFULLY,
Considered and ordered this Qrciay iii MMB
, 2095 , and ordered filed NICOLE D. PETERSON
an de a part of the records in the above United States Probation Oiiicer
c .

   
    

Place: Memphis. Tennessee

U ted States istrict Judge Date: June 9. 2005

Tnis document entered on the docket sheet in comp!ia ce
with Ru|e 55 and/or 32(b) FRC{P on Q * fs 3 "Z? 5

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PROB 4§Zase 2:97-cr-20283-BBD Document 53 Filed 06/10/05 Page 2 of 3 PagelD 11
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Um'ted States District Court
wEsTERN District TENNESSEE

Waiver of Hearing to Modify Conditions
of ProbationfSupervised Release or Extend Term of Supervision

l have been advised and understand that l am entitled by law to a hearing and assistance of
counsel before any unfavorable change may be made in my Conditions of Probation and Supervised
Release or my period of supervision being extended. By "assistance of counsel," l understand that l
have the right to be represented at the hearing by counsel of my own choosing if l am able to retain
counsel. l also understand that l have the right to request the court to appoint counsel to represent
me at such a hearing at no cost to myself if l am not able to retain counsel of my own choosing

l hereby voluntarily waive my statutory right to a hearing and to assistance of counsel. l also agree
to the following modification of my Conditions of Probation and Supervised Release or to the
proposed extension of my term of supervision:

The defendant shall serve up 120 days community confinement

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U. S. Probation Offi r

  

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 53 in
case 2:97-CR-20283 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

L. Daniel Johnson

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Honorable Bernice Donald
US DISTRICT COURT

